                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


ROBERT BROWN,

              Plaintiff,

      v.                                            Case No. 20-CV-1131

CAPT. CUSHING, et al.,

              Defendants.


                                      ORDER


       Plaintiff Robert Brown, an inmate at the Green Bay Correctional Institution,

filed a civil rights complaint under 42 U.S.C. § 1983, along with a motion to proceed

without prepaying the filing fee under 28 U.S.C. § 1915. (ECF Nos. 1-2.) On August

25, 2020, the court ordered Brown to forward to the Clerk of Court the sum of

$11.15 as an initial partial filing fee. (ECF No. 7.) The court warned Brown that, if

by September 16, 2020, he did not pay the initial partial filing fee or explain why he

was unable to do so, the case could be dismissed. (Id. at 4.) Brown has not paid the

initial partial filing fee. Accordingly, the court will dismiss this case without

prejudice based on Brown’s failure to comply with the court’s order.

      IT IS THEREFORE ORDERED that this case is DISMISSED without

prejudice based on Brown’s failure to comply with the court’s order. The Clerk is

directed to enter judgment accordingly. Brown may submit the initial partial filing




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fee and move to have the case reopened within twenty-one days of entry of this

order.

         Dated at Milwaukee, Wisconsin this 18th day of September, 2020.




                                              WILLIAM E. DUFFIN
                                              U.S. Magistrate Judge




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